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No. 04-08-00568-CR



Kevin RICHARDSON a/k/a Kevin Davis,


Appellant



v.



The STATE of Texas,


Appellee



From the 186th Judicial District Court, Bexar County, Texas


Trial Court No. 2007-CR-4987


Honorable Maria Teresa Herr, Judge Presiding



PER CURIAM


Sitting: 	Alma L. López, Chief Justice

		Catherine Stone, Justice

		Karen Angelini, Justice


Delivered and Filed:   October 1, 2008


DISMISSED FOR LACK OF JURISDICTION

	Appellant was sentenced on June 30, 2008.  Because appellant did not file a timely motion
for new trial, his notice of appeal was due to be filed on July 30, 2008.  See Tex. R. App. P. 26.2(a). 
Appellant filed a notice of appeal in this court on July 28, 2008; however, he failed to file his notice
of appeal with the trial court.  See Douglas v. State, 987 S.W.2d 605, 605 &amp; n.2. (Tex.
App.--Houston [1st Dist.] 1999, no pet.) (dismissing appeal where notice of appeal was timely filed
in appellate court but not in trial court and noting rule 25.1 contains saving provision for notices of
appeals mistakenly filed in appellate courts but only applies to appeals in civil cases).  On August
4, 2008, appellant timely filed a motion requesting an extension of time to file his notice of appeal;
however, he never filed his notice of appeal with the trial court.  

	On August 26, 2008, we ordered appellant to show cause in writing why this appeal should
not be dismissed for want of jurisdiction.  See Ater v. Eighth Court of Appeals, 802 S.W.2d 241
(Tex. Crim. App. 1991) (out-of-time appeal from final felony conviction may be sought by filing a
writ of habeas corpus pursuant to article 11.07 of the Texas Code of Criminal Procedure).  Appellant
failed to respond to our order.  This appeal is dismissed for lack of jurisdiction.

							PER CURIAM

DO NOT PUBLISH






